             Case 3:19-cr-01602-WVG Document 16 Filed 05/30/19 PageID.21 Page 1 of 1
AO 2458 (Rev. 05/15/2018) Judgment in a Criminal Petty Case (Modified)



                                    UNITED STATES DISTRICT COU*T                                                   MAY 3 0 2019                I
                                               SOUTHERN DISTRICT OF CALIFORNIA                      I       CLERK   us b1srRiCiC0uRT            ~
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                     United States of America                                JUDGMENT IN .JlYGRJ·M-INAb-~E                           DEPUI'.!'..J
                                     v.                                      (For Offenses Committed On or After November 1, 1987)



                    Jesus J Alejandre-Rosales                                Case Number: 19-cr-01602-WVG

                                                                            Eric Studebaker Fish
                                                                            Defendant's Attorney


REGISTRATION NO. 74544298

THE DEFENDANT:
 lZl pleaded guilty to count( s) 1 of Superseding Information
 D was found guilty to count( s)
      after a plea of not guilty.
      Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

Title & Section                   Nature of Offense                                                           Count Nnmber(s)
8:1325(a)(2)                      Improper Entry by an Alien (Misdemeanor)                                    ls

 D The defendant has been found not guilty on count(s)
                                                                         ~-----------------~


 lZI Count(s) 1 oflndictment                                                 dismissed on the motion of the United States.

                                            IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of:
                                                Time Served


  lZl Assessment: $10 WAIVED   lZl Fine: WAIVED
lZl Court recommends USMS, ICE or DHS or other arresting agency return all property and all documents in
the defendant's possession at the time of arrest upon their deportation or removal.
D Court recommends defendant be deported/removed with relative,                      charged in case _ _.
     IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and
United States Attorney of any material change in the defendant's economic circumstances.

                                                                          May28, 2019
                                                                          Date of Imposition of Sentence


                                                                          (JJ~
                                                                          lffiNORABLE WILLIAM V. GALLO
                                                                          UNITED STATES MAGISTRATE JUDGE



                                                                                                                    19-cr-01602-WVG
